     Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 1 of 22 PageID #:1




                    IN TIM UNITED STATES DISTRICT COT]RT
                   FOR TIIE NORTHERN DISTRICT OT ILLINOIS
                                    EASTERN DTYISION

                                                                            RECEIVED
KEVIN SROGA,                                                                        JUL o5 20ffi6}J
          Plaintiff,                                  No.

v.                                                                          d[HeUt',Psf#l8U*,
John & or Jane Doe Chicago Police Oflicers,
URT and or E&R Towing Inc., John Doe Tow             1:16-cv-06965
Operator for the same along with the City of
Chicago Streets and Sanitation Department,       |   .luOge John Robert Blakey
Charles Williams,Individually, and the CITY
OFCHICAG,O,
                                                 i   Magistrate Judge M. David Weisman
                                                 )
                 Defendants,
                                                 )
                                                 )
                                                 )    JURYDEMAT{DEI)




                                  CTYIL COMPLAINT

      Now comes the Plaintiff, Kevin Srog4 who complains to this Court with the

following whereby stating as follows:

                                     INTRODUCTION

              This action is being brought pursuant to the Laws of the United States Constitution,

specifically under 42 U.S.C. 1983, and the laws ofthe State of Illinois, to redress deprivations of

the Civil Rights of the Plaintiffthat were accomplished by acts and/or omissions that the

Defendants committed under color of state law.

       2.   This is a civil action seeking damages against those defendants for committing

acts under color of state law, whereby depriving plaintiffof rights and immunities

secured to him under the constitution and the laws of the United States-
   Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 2 of 22 PageID #:2




                                       flruSDICTION
       3. The jurisdiction of this Court is invoked pursuant to the Civil Rights Act" 42 U.S.C.
Section 1983, the Judicial Code, 28 U.S.C. & l33l and 1343 (a); the Constitution of the United

States; and pendent jurisdiction as provided under U.S.C. Section 1367 (a).

      4.     Venue lies in the United States District Court Northern District of Illinois pursuant to

28 U.S.C. section 1391, because all events or omissions giving rise to these claims occurred in

this District.

                                                  PARTIES

       5. At all times herein mentioned, Plaintifi KEVIN SROGA ("Sroga" or
"Plaintiff') is a reasonable person who has always been a citizen of the United States

residing within the City of Chicago and within the jurisdiction of this Court.

      6. At all times herein mentioned, Defendants John and or Jane Doe Chicago
Police Officers were employed by the City of Chicago who were acting under color of

state law as an employee, agent, and or a representative for the City of Chicago,

Deparftnent of Police that deprived Plaintiffof rights, privileges, and immunities secured

to him under the laws enacted under ttre Constitution of the United States. These

Defendants are being sued in their individuaVpersonal capacities.

     7.      At all times herein mentioned, Defendant URT or United Road Towing Inc.

or E&R Towing Inc. holds the current contract for the City of Chicago to tow for the

Department of Streets & Sanitation as well as for Chicago Police related tows towed

under the same by the City of Chicago, who were acting as an agent for the Department

of Streets and Sanitation acting under color of state law as an employee, agent, and or a

representative for the City of Chicago that deprived Plaintiffof rights, privileges and
   Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 3 of 22 PageID #:3




immunities secured to him under the laws enacted under the Constitution of the United

States. These Defendants are being sued in their individuaUoffrciaUpersonal capacities.

    8.     At all times herein mentioned, John l)oes'Defendant Tow Operator ("Tow

Operator") was employed by one of the named defendant agencies listed in Paragraph 7

who was approved for hire/authorized to tow vehicles for the City of Chicago,

Department of Streets and Sanitation who was engaged in the towing of Plaintiffs

Vehicles so ordered by the Chicago Police Department through John or Jane Does'

Officer Defendants' whom were actrng under color of state law as an employee, agent,

and or a representative for the Chicago Police Departrnent and or for the Departrnent of

Streets and Sanitation that deprived Plaintiffof rights, privileges and immunities secured

to him under the laws enacted under ttre Constitution of the United States. These

Defendants are being sued in their individual /personaVofficial capacities.

   9.     At all times herein mentioned, Defendant Charles \trilliams was the

Commissioner of the Department of Streets and Sanitation in charge of such Division

who oversees, operates, runs and or who is essentially responsible the Daily oversight of

operations for the Departrnent for Sheets and Sanitation for the City of Chicago.

Defendant Williams was employed by the City of Chicago, Department of Streets and

Sanitation who was essentially acting under color of state law as an employee, agent, and

or a representative for the City of Chicago that deprived Plaintiffof rights, privileges and

immunities secured to him underthe laws enacted under the Constitution of the United

States. This Defendant is being sued in his official capacity as it relates to such claims.
  Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 4 of 22 PageID #:4




  10. At all times herein mentioned, the CITY OF CHICAG0 was a political
division of the State of Illinois, existing as such under the laws of the State of Illinois.

At all relevant times, the City of Chicago maintained, managed, and /or operated the

Chicago Police Department and the Department of Streets and Sanitation under their

municipal powers which allows URT and or E&R towing companies [nc. to tow for its

municipality.

                              STATEMENT OF FACTS

11. On Saturday June 19n 2015, Plaintifl Kevin Sroga parked his 2001 Chevrolet
Suburban with V.I.N. # 1GNFKI6T8IJ206263 under a via-dock @the location of 3600

w. Hirsch st. in Chicago within the 025 Police District @ approximately 4 pm.

12. Plaintiffhad parked his vehicle @ this location to secure a Boat which he had
attached to the rear of his Suburban to safeguard it from the rain as he did not have a top

or boat cover for it, and to keep it offof the main sfteet as it draws a rowdy crowd of

people who are in the neighborhood celebrating the Puerto Rican Day Parade.

13. Plaintiffsecured his vehicle by placing and locking the vehicle into 4-wheel drive,
making sure that all of his windows were rolled up tightly prior to removing the key from

the ignition switch whereby then locking all doors on the vehicle and re-checking each

and every door upon them to make sure each of them were in fact locked.

14. Plaintiffeven made and left a note on the inside of the windshield of his vehicle
stating that it's being parked here because of the rainy weather forecasted and that he

would be moving the vehicle shortly and to please not to tow the vehicle.
   Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 5 of 22 PageID #:5




15. Furthermore, Plaintiffis unaware of any law which prohibits the parking of a vehicle

under any type of viaduct within the City of Chicago, nor were there any signs posted

prohibiting the same from occurring.

16. Inside of this vehicle was Plaintiffs tools, along with the title to such vehicle as

Plaintiffhad taken the vehicle up to Wisconsin earlier in the day to both pick-up the Boat

and Trailer and to register the Suburban through the Deparfinent of Vehicle through the

State of Wisconsin.

17. When Plaintiffhad gotten up to Wisconsin whereby the time spent picking up the
Boat and Trailer, it was too late for him to register the Suburban with the Departrnent of

Motor vehicles as to the reason why the title to the vehicle was still left inside of it.

18. As fate would have it, the vehicle along with his Boat and Trailer were subsequently

written up to be towed by John and or Jane Doe Chicago Police Officers which was

authorized by a Chicago Police Officer Supervising SGT.

19. All three items were written up to be towed in which the Boat and Trailer made it to

the impound yard under inventory #'s 682A668 & 6820669. but the suburban on-the-

other-hand did not.

20. Not only did plaintil?s suburban come up missing, but his boat and trailer were

also extensively damaged beyond repair at the hands of this Tow Operator resulting

in a total loss of his items.

21. This was discovered by the Plaintiffupon recovering his Boat and Trailer from the
Impound Yard after an administrative hearing in conjunction to the tow which resulted in

both properties being returned to the Plaintiffwithout any civil liabilities attached to such

items sometime in August 2015.
  Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 6 of 22 PageID #:6




                            FACTUAL ALLEGATIONS


22. On information and beliel plaintiffalleges that this Tow Operator not only
extensively damaged his Boat, but had also stolen his 2001 Chevrolet Suburban, as it was

unlikely that anyone-else wold have stolen it as this vehicle had On-Star as a factory

option located within the vehicle.

23. On-Star is a type of GPS Location device utilized for traveling to determine a
vehicle location or the location of a vehicle and is subsequently utilized for other things

as well.

24. It's auto theft 101 that even your dumbest auto thief is not going to touch a vehicle
that has On-Star installed in it.

25. The down side of having On-Star, is that it only works ifthe vehicle is powered on,
it will not work if the vehicle is not powered on such as in transit via a flat bed tow truck.

26. Furthermore, Plaintifl nor his property were violating, nor had violated any Federal,
State or Municipal laws nor was there any warrants out for plaintiffs arrest when

plaintiff s property was unlawfully and unreasonably seized in contravention to the 4ft

Amendment to the U.S.C.

27. These John or Jane Doe defendants' who are members of the Chicago Police
Department had no justifiable cause to write up to be towed any of Plaintiffs personal

property which was lawfully parked along the curb side of this steet.

28. Not only does the Fourth Amendment protect against unlawfrrl seizures, it also
protects against Unreasonable ones as well and such extension extends beyond the scope

of the seizure to a person's property as does to a person in of themselves.




                                              6
  Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 7 of 22 PageID #:7




29. In other words, an unlawful/unreasonable seizure under the Fourth Amendment not
only applies to persons, but can apply to a person's property as well.

30. By reason as of the direct and proximate result of the wrongful actions and
omissions undertaken as described above by these Defendants, Plaintiffsustained great

and still continues to suffer substantial injuries including, but not limited to, financial,

loss of personal property, undue stress, physical, mental and other emotional distresses

and mental anguish, pain and suffering, pecuniary damages including attorneys' fees, lost

wages, loss of his vehicle and the missing out of the entire 2015 Boating season all to his

damages in an amount to be ascertained later.

31. The aforementioned acts of these Defendants were willful, wanton, malicious,
oppressive and done with a reckless indifference to and / or callous disregard for

PlaintifPs Constitutional Rights and justifu the award of exemplary and punitive damages

in an amount to be ascertained according to proof at time of trial.



                                          COTJNT I

   Plaintiffagainst John and or Jane Doe Chicago Police Oflicers' for violation of his 4s
                    Amendment Right Illegal Seizure of his Properties


32.    Plaintiffhereby re-alleges and reincorporates all previous paragraphs.

33. On June 22'd 2015, Defendant John and or Jane Doe Chicago Police Officers'
unlawfully and without reasonable articulation of criminal activity wrote up PlaintifPs

vehicles to be essentially illegally seized by improperly having them impounded for a

Hazard, *Blocking the Normal flow of Trafric."
  Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 8 of 22 PageID #:8




34. These named defendants were the proximate cause to both plaintiffand his personal
property being illegally seized and or as in the 2001 Chewolet Suburban, stolen all in

violation of the fourth amendment as it relates to the U.S.C.

35. In committing these acts of misconduct described herein, Defendants' John and
or Jane I)oe committed them while acting under color of state law as the employee,

agent, and or a representative for the City of Chicago, Chicago Police Department who

essentially deprived plaintiffof rights, privileges, and immunities secured to him under

the laws enacted under the United States Constitution through the 4ft Amendment.

36. These John and or Jane Doe Defendants unlawfrrl acts resulted in the unlawful
seizure of plaintifPs property which was not only damaged but came up missing and

continues to be missing wtrich has created and still creates an undue burden and hardship

on the plaintiffwhich resulted in the deprivation of plaintiffs rights, securities, property,

benefits, use thereof as well as creating extreme emotional distress and a loss of financial

gain and boating enjoyment.

37. By reason ofthe defendants' conduct, plaintiffwas deprived of rights, privileges
and immunities secured to him under the fourth as reinforced under fourteenth

amendments (under equal protection class-of-one clause) under the Constitution of the

United States and laws enacted thereunder.

38. Therefore, these defendants are liable for violation(s) to plaintifPs pursuant to his
fourth amendment rights which are secured to him pursuant to 42 U.S.C Section 1983.
   Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 9 of 22 PageID #:9



                                          COT]NT II
  Plaintiffagainst Defendants' John and or Jane l)oe Chicago Police Ofricers' on a
                            State Claim of Negligence.

39. Plaintiffhereby re-alleges and reincorporates all previous paragraphs.
40. On June 22,d 2015, Defendant - John or Jane Doe Chicago Police Officers' were
Negligent in their official Police Duties for having a Vehicle towed without any proper

justification or authorization to do the same.

41. These named Officer Defendants', unlawfully engaged in conduct that was
"conscience shocking" whereby engaging in such egregious conduct in relation to

illegally seizing the plaintiffs vehicles' without just cause as well as doctoring official

paperwork and tow reports to subsequently have Plaintiffs vehicles' improperly

impounded for non-justifi able reasons.

42. In committing these acts of misconduct described herein, these defendant offrcers
committed them while acting under color of state law and as the employee, agent, and or

a representative from the City of Chicago, Departnent of Police who deprived plaintiffof

rights, privileges, and immunities sectred to him under the laws enacted under the United

States Constitution.

43. These defendant officers' unlawful actions resulted in the unlawful seizures of
plaintiffs personal property which resulted in extensive damage to his Boat rendering it

incapable of being utilized and the loss of his 2001 Chewolet Suburban which created

and still creates an undue burden and hardship on the plaintiffwhich resulted in the

deprivation of Plaintiffs rights, property, benefits, use thereof as well as extreme

emotional distress, loss of financial gain and the Loss of last and this years Boating

season.
 Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 10 of 22 PageID #:10




44. By reason of these defendant Oflicers conduct, plaintiffwas deprived of rights,
privileges and immunities secured to him under the fourth as reinforced under fourteenth

amendments (rurder equal protection clause) under the Constitution of the United States

and laws enacted thereunder. Therefore, these defendants and each ofthem are liable for

violation(s) of being negligent.

                                            COUNT III

     Plaintiffagainst Defendants' John or Jane Doe Chicago Police Officers' for
                   a State Claim of Culpa Lata or Gross Negligence

45. Plaintiffhereby re-alleges and reincorporates all previous paragraphs.
46. On June 22d z}ls,Defendant John and or Jane Doe Chicago Police Officers'
while acting under color of state law illegally seized, allowed to be purposely seized

without any legal cause, justification or authorizationto do the same and in doing so,

were Negligent in their official job duties whereby failing to notice the registration tag

Via the Intra-State Travel pennit affixed to the inside of Plaintiffs vehicle establishing

registration of such vehicle, and by falsifring paperwork and tow reports to have

PlaintifPs properties unlawfully removed from its location in contravention to law.

47. The aforementioned conduct under taken by these defendant officers'not only
"shocks the conscience" b'ut, was undertaken with such malice and with a willfulness and

reckless indifference to plaintiff s rights secured to him.

48. By falsifring the same, these Defendants' acted within and undertook and extreme
careless action or an omission that was willful and with a reckless disregard agains

plaintiff s property.


I) Negligence- the failure to exercise that degree of care that, in the circumstances, the law requires
for the protection of other persons or those interests of other persons that may be injuriously affected
by the want of such care.



                                                    10
 Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 11 of 22 PageID #:11



49. These named Officer Defendants', unlawfully engaged in conduct that was
"conscience shocking" whereby engaging in such egregious conduct in relation to

illegally seizing the plaintiffs vehicles' without just cause as well as doctoring official

paperwork and tow reports to subsequently have Plaintiffs vehicles' improperly

impounded for non-justifiable reasons.

50. ln committing these acts of misconduct described herein, these defendant officers
committed them while acting under color of state law and as the employee, agent, and or

a representative from the City of Chicago, Department of Police who deprived plaintiffof


rights, privileges, and immunities secured to him under the laws enacted under the United

States Constitution.

51. These defendant officers' unlawful actions resulted in the unlawful seizures of
plaintifPs personal property which resulted in extensive damage to his Boat rendering it

incapable of being utilized and the loss of his 2001 Chewolet Suburban which created

and still creates an undue burden and hardship on the plaintiffwhich resulted in the

deprivation of Plaintiffs rights, property, benefits, use thereof as well as extreme

emotional distress, loss of financial gain and the Loss of last and this years Boating

season.

52. By reason of these John and or Jane Doe Chicago Police Officer Defendants'
conduct to the aforementioned, warrants a claim of Culpa Lata or with very great

negligence in this cause.



2) Culpa Lata or Gross Negligence- is an extremely careless action or an omission that is
willful or a reckless disregard for the consequences to the safety or property of another; also
called - very great negligence.




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 Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 12 of 22 PageID #:12




                                         COUNT IV


Plaintiffagainst Charles Williams,IIRT Inc. and or E&R Towing Inc., John Doe IIRT /City
                   of Chicago Agent and City of Chicago for Negligence


53. Plaintiffhereby re-alleges and reincorporates all previous paragraphs.
54. Defendant Charles Williams is the Commissioner for the Deparhnent of Streets
and Sanitation Division, essentially, he is Streets and Sanitation.

55. URT & or E&R Towing tow for the Departrnent of Streets and Sanitation, for the
Department of Police and for the City of Chicago.

56. One and or all of these Named Defendants' are gurlty ofNegligence pertaining to
this cause.

57. Commissioner Charles Williams either knew of, approved of, and or recommended
the continuing conftact go to URT and or E&R towing to tow for the City of Chicago.

58. On information and beliel these Tow Operators are apparently sub contracted
through URT = United Road Towing and or E&R Towing who essentially'oTow" for the

City of Chicago, Departnent of Streets and Sanitation without ever going through any-

type of Criminal Background Investigation or official application process with the City.

59. These Tow Operators are in fact then given signs that state (something to the
eftect)- City of Chicago, Police Tow, Department of Streets and Sanitation along with a

number assigned on the sign itself which are to be placed on the tow operator's tow tnrck.

60. Plaintiffis unaware if any of these tow trucks are equipped with Mobile GPS units
as fotrnd on many City of Chicago Vehicles and states that he does not believe there are

any making it very difficult to track a vehicle from the time it hooks up a vehicle to the

time it is dropped offto its desired location.




                                                 t2
 Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 13 of 22 PageID #:13




61. Essentially, it's a free for all upon towing for the City of Chicago, in that there is
no regulation whatsoever that tow operators must go through prior to towing for the City

of Chicago prior to making these tow operator's representatives of the City of Chicago.

62. Plaintiffs position is, once these tow operators place that sign upon their tow
trucks utilizing such verb-age, that opens up the door of them acting as a representative

with the City of Chicago and or as an agent of such.

63. In this case, PlaintifPs Boat and Trailer were extensively Damaged when one of
these above named defendants' authorized the employrnent of this John Doe Tow

Operator who Damaged Plaintiffs Boat and Trailer upon towing it to 701 N. Sacramento

whereby these named defendants' failed to recruit, hire and tain qualified individuals to

properly and safely tow for the City of Chicago.

64. Furthermore, the damage to the Boat further occurred as direct result of the City of
Chicago and or URT = United Road Towing upon its failure to maintain an adequate

level of freshly crushed asphalt in which the Tow Operator backed the Boat right into,

and as a direct result, the Lower Unit of the Boat was slammed into this hard substance

essentially breaking the Transom on the Boat and breaking the propeller and bending the

lower units output shaft essentially rendering this Boat Junk as there is a huge hole in the

Transom Gear) of the Boat as a direct result and carelessness from one and or all of these

named defendants'.

65. Wherefore, Plaintiffasks that this Court to find these Defendants' and the City of
Chicago Negligent concerning the aforementioned at the time of trial.




                                             13
 Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 14 of 22 PageID #:14




                                         COT]NT V

 Plaintiffagainst IIRT Inc. and or E&R Towing Inc., John Doe URT /City of Chicago Agent
                  and City of Chicago for Culpa Lata or Gross Negligence



66. Plaintiffhereby re-alleges and reincorporates all previous paragraphs.
67. tlRT & or E&R Towing tow for the Department of Streets and Sanitation, for
the Department of Police and for the City of Chicago as reiterated in Par. # 55.

68. One and or all of these Named Defendants' are gurlty of Culpa Lata or Gross
Negligence pertaining to this cause.

69. On information and beliefl these Tow Operators are apparently sub contracted
through URT : United Road Towing and or E&R Towing who essentially "Tow" for the

City of Chicago, Department of Sheets and Sanitation without ever going through any-

type of Criminal Background Investigation or official application process with the City.

70. These Tow Operators are in fact then given signs that state (something to the
effect)- City of Chicago, Police Tow, Deparhnent of Streets and Sanitation along with a

number assigned on the sign itself which are to be placed on the tow operator's tow truck.

71. Plaintiffis unaware if any of these tow trucks are equipped with Mobile GPS units
as found on many City of Chicago Vehicles and states that he does not believe there are

any making it very difficult to track a vehicle from the time it hooks up a vehicle to the

time it is dropped offto its desired location.

72. Essentially, it's a free for all upon towing for the City of Chicago, in that there is
no regulation whatsoever that tow operators must go through prior to towing for the City

of Chicago prior to making these tow operator's representatives of the City of Chicago.




                                                 t4
 Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 15 of 22 PageID #:15




73. Plaintiff s position is, once these tow operators place that sign upon their tow
trucks utilizing such verb-age, that opens up the door of them acting ns a representative

with the City of Chicago and or as an agent of such.

74. In this case, Plaintiffs Boat and Trailer were extensively Damaged when one of
these above named defendants' authorized the employment of this John Doe Tow

Operator who Damaged Plaintiffs Boat and Trailer upon towing it to 701 N. Sacramento

whereby these named defendants' failed to recruit, hire and train qualified individuals to

properly and safely tow for the City of Chicago.

75. The damage to the Boat further occurred as direct result of the City of Chicago
and or URT = United Road Towing upon its failure to maintain an adequate level of

freshly crushed asphalt in which the Tow Operator backed the Boat right into, and as a

direct result, the Lower Unit of the Boat was slarnmed into this hard substance essentially

breaking the Transom on the Boat and breaking the propeller and bending the lower units

output shaft essentially rendering this Boat Junk as there is a huge hole in the Transom

Gear) of the Boat as a direct result and carelessness from one and or all of these named

defendants'.

76. Furthermore, Plaintiffs 2001 Chewolet Suburban came up missing at the hands of
this John Doe Tow Operator contracted and or hired by URT and or E&R Towing Inc.

who authorized and or approved for hire as an agent and or representative on behalf of

the City for the City of Chicago by the actions described herein above.

77. Without authorization, consent or any-other authority this John Doe Tow Operator
committed the Criminal Act of Theft as clearly defined under Illinois law.




                                            15
 Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 16 of 22 PageID #:16




78. Wherefore, Plaintiffasks that this Court to find these Defendants' and the City of
Chicago Grossly Negligent or Culpa Lata conceming the aforementioned at the time of

trial.

                                         COT'NT YI

 Plaintiffagainst John Doe Tow Operator contracted by URT and or E&R Towing
        Inc. approved for hire by the City of Chicago for Motor vehicle Theft

79. Plaintiffhereby re-alleges and reincorporates all previous paragraphs.
80. The Tow Operator in this cause committed the Criminal Act found under 625 ILCS
514-103 and or 720 ILCS 5116-l - Motor Vehicle Theft.

81. If established @txral that such Tow operator is in fact an agent and or a
representative of the City of Chicago, then the *City" shall too be held liable to this claim

pursuant to Responeat Superior theory of liability doctrine concerning such claim.

82. An official Police report was filed in connection to this cause under I{Y-323089
reported to local law enforcement shortly after last years 4e of July Holiday weekend.

83. Plaintilfs Vehicle somehow, after being properly reported stolen to local law
enforcement officials had its title transferred on 9-4-15 or September 4n 2015 in which

License plates were then later assigned to the vehicle just this past April of 2016,

registering to an individual out of Wheaton Illinois.

84. The some what suspicious Transferring of this Vehicle's title back in September
2015 and then License Plates being recently assigned to this vehicle just this past April

2016, (some seven months later) should raise some serious underlying questions in

conjunction to this cause conceming the underlying conduct and allegations set forth by

this Plaintiffin connection to this matter.




                                              t6
 Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 17 of 22 PageID #:17




                                        COT]NT VII

         Plaintiffagainst l)efendant John Doe SGT. for Supervisory Liability

85. Plaintiffhereby re-alleges and reincorporates all previous paragraphs.
86. One of the John Doe Defendant police Offrcers' held the rank of Sgt. was a
Supervising Sergeant working for the Chicago Police Deparhnent who was on scene that

day concerning the aforementioned.

87. On June 22'n 2015, Defendant John Doe Supervisor Sgt. not only "turned a blind
eye" but engaged in, and encouraged and then allowed such illegal activity to transpire

while knowingly and unreasonably without any exigent circumstances, probable cause,

reasonable suspicion, consent, or any other lawful basis to ascertain such police action

against the plaintiffs properly.

88. The actions by this John Doe Defendant SGT., a Supervisor for the Chicago
Police Departrnent by condoning, encouraging and then allowing plaintifPs personal

property to be unlawfully seized without any reasonable articulable suspicion of criminal

activity, probable cause, consent or any other legal justification to do so violated

Plaintiffs fourth amendment rights (to be free from unreasonable searches and seizures)

as reinforced by the fourteenth amendment (equal protection clause) to the United States


Constitution and the laws enacted thereunder.

89. Defendant Sgt. John Doe not only failed to exercise a o'duty to intervene" as
Supervisor of these Defendant Officers, Defendant SGT. John Doe approved,

encouraged, condoned, and or turned a blind eye to the substantial amount of

constitutional violations essentially depriving plaintiffof his constitutional securities in

violation of such rights.




                                              t7
 Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 18 of 22 PageID #:18




90. By reason of Defendant John Doe SGT.'s conduct, plaintiffwas in fact deprived of
rights, privileges and immtrnities secured to him by the fourth amendment to the United

States Constitution and of the laws enacted thereunder. Therefore, defendant SGT. John

Doe is liable under the Supervisory Liability Docfiine pursuant to 42 U.S.C. Section

1983.

                                        COTJNT VIII

Plaintiffagainst all Individual llefendants for Intentional Infliction of Emotional Distress

91. Plaintiffhereby re-alleges and reincorporates all previous paragraphs.
92. Defendant police ofiicers and City personnel while acting under color of state law,
deprived plaintiff of multiple constitutional rights, securities, privileges and immunities

secured to him under the fourth and fourteenth amendments of the United States

Constitution.

93. This conduct complained of transpired during the Defendants scope of employment
working for the City of Chicago as Police Officers or other agents essentially working for

the City of Chicago.

94. These willful acts of misconduct by all named Defendants as set forth above were
extreme, outrageous, wanton, and were undertaken with malice, a willfulness and

reckless indifference to the Plaintiffs constitutional rights.

95. The Defendants actions were intended to cause by exercising a reckless disregard
of the probability that their conduct would cause, severe emotional distress to plaintiff in

addition to violating plaintiffs rights secured to him under the U.S.C.

96. As a direct and proximate result of these defendants wrongful acts and conduct,
defendants did so directly and proximately cause plaintiffto suffer severe and extreme

damages including, but, not limited to, financial, severe mental and emotional distress,


                                              l8
 Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 19 of 22 PageID #:19




physical damage, mental distress and anguis[ loss of personal property, loss of boating

enjoyment for the 2015 & 16 Season all in relation to whereby wanton of inflicting

intentional infliction of emotional distress.




                                         COUNT IX


                                     MONELL CIAIM

  Plaintiffagainst Defendant City of Chicago for Failure to Train, Supervise and Discipline

97. Plaintiffhereby re-alleges and reincorporates all previous paragraphs.
98. The Defendant City of Chicago is a Municipal corporation established under its
own "Home Power Rules" and Regulations.

99. The Defendant City of Chicago failed to take the necessary precautions to

adequately Train, Monitor, Supervise, and or Discipline its Personnel agent Officers.

100. These Defendants, the City of Chicago and its officers intentionally worked

"deliberate indifference" to plaintiff s constitutional rights.

101. These deliberate indifference's can only be athibuted to the City of Chicago's
"Failure to Monitor, Train, Supervise, to hold accountable and or Discipline its agents."

102. Under MoneU, a local government can be sued under 42 U.S.C. sections 1983,

 when the local government's failure to tain its officer agents constifutes a "deliberate

 indifference" to a person's constitutional rights, the local government is liable to that

 person for his injuries. Canton v. Harris U.S. 378, 388-89, 109 S. Ct. 1197,103 L. Ed.

 2d,412 (1989). Rejecting that Monell only applies to a written policy which led to the

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 Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 20 of 22 PageID #:20




                                          COTINT X


                                     RESPONEAT ST]PERIOR


103. Plaintiffhereby re-alleges and reincorporates all previous paragraphs.
104. These Defendants either are or were members of the Chicago Police Departrnent

and or as described earlier in the aforementioned agents/ representatives essentially

working for the City of Chicago.

f05. In committing these willful and wanton acts against plaintiff, these defendants
committed them while acting under color of state law during the scope of their employed

activities.

106. Defendant City of Chicago is the employer of all named Defendants.
107. Pursuant to respondeat superior, Defendant CITY OF CIIICAGO, as principal,
is liable for its agents' actions.

108. As a proximate cause of Defendant Officers unlawful acts which occurred within
their scope of employed activities, Plaintiffsuffered severe and exteme damages

including but not limited to, financialn mental and emotional distress, physical damage,

mental distress and anguish, anxiety, loss ofpersonal property, loss of eqioyment of his

Boat for the 2015 & 16 Boating seasons. Therefore, the City of Chicago is responsible

under the respondeat superior doctrine.




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 Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 21 of 22 PageID #:21




                                       COT]NT XI

                 Indemnffication Claim Pursuant to 745 ILCS 1019-102

109. Illinois law provides that public entities are directed to pay any tort judgment
compensatory damages from which employees are liable within the scope of their

employment activities.

110. The acts of the individual Defendants - described in the above claims were
willful, wanton and were maliciously committed during the scope of their employment.

111. Pursuant to the Illinois Tort Immunity Act"745ILCS l0/9-102, Defendant CITY
OF CHICAGO is liable for anyjudgments inthis case arising from the actions of the

Defendant aforementioned personnel and its Officers.




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 Case: 1:16-cv-06965 Document #: 1 Filed: 07/05/16 Page 22 of 22 PageID #:22




WHEREFORE, PlaintiffKevin Sroga, respectfully moves this Honorable Court to enter

judgment as follows against these defendants, and each of them on every claim:

   a) That the defendants be required to pay plaintifi compensatory damages including
        extreme emotional distress, in a sum to be determined at tial;
   b) Award special damages in a sum to be determined at tial;
   c) Award extreme exemplary and punitive damages, in a sum to be determined at
        trial;
   d) Require the defendants to pay the plaintiffs costs of the suit herein incurred;
   e)   Require the City to change its policy whereby requiring all tow truck drivers that
        are contracted by URT and or E&R Towing Inc. that engage in Clty Business to

        be finger printed and to go through a through background investigation prior to

        being allowed to tow for the City;
        Require and or Award such other and additional relief that this Honorable Court
        deems just and equitable.

   s) Order Defendant CITY OF CHICAGO to indemnifu the defendant-officers for
        any judgments entered in this cause arising from their unlawful and or negligent

        actions arisen to the above.


  This Plaintiff, Kevin Sroga, Hereby Requests a Trial by Jury on each and every
                               Count of his Compliant




                                                             ectfully submitted,


 Kevin Sroga
3343 W. Crystal                                       Kevin Sroga, Pro Se Plaintiff
Chicago,IL 60651
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